          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                           1:07CR69-15

UNITED STATES OF AMERICA,                            )
                                                     )
Vs.                                                  )              ORDER
                                                     )
TIMOTHY SHANNON BUFF                                 )
_________________________________                    )

      THIS MATTER is before the court upon the direction of the district court,

which has, sua sponte, determined that the court’s Plea Deadline should be

dissolved in this particular matter and has directed entry of this Order.

                                      ORDER

      IT IS, THEREFORE, ORDERED that the court’s Plea Deadline is

DISSOLVED.




                                              Signed: November 13, 2007




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